CASE 0:22-cv-00777-NEB-TNL Doc. 15 Filed 06/21/22 Page 1 of 11




                   EXHIBIT 1




                              1
         CASE 0:22-cv-00777-NEB-TNL Doc. 15 Filed 06/21/22 Page 2 of 11




                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MINNESOTA

Equal Employment Opportunity Commission,                        Case No. 0:22-cv-777 (NEB/TNL)

                  Plaintiff,

Kaylah Vogt,

                  Plaintiff-Intervenor,

        v.                                                  COMPLAINT OF
                                                       PLAINTIFF-INTERVENOR
North Memorial Health,
                                                       (JURY TRIAL DEMANDED)
                  Defendant.




        Plaintiff-Intervenor Kaylah Vogt, for her Complaint against North Memorial Health, states

and alleges as follows:

        1.        Ms. Vogt incorporates the facts and allegations in the EEOC’s Complaint in this

matter (Doc. 1) as if fully set forth herein.

                                   JURISDICTION AND VENUE

        2.        Ms. Vogt bases her claims, in part, on the Americans with Disabilities Act of

1990 (“ADA”), as amended by the Americans with Disabilities Amendments Act of 2008

(“ADAAA”), 42 U.S.C. § 12117 et seq., and therefore this Court has subject matter jurisdiction

pursuant to 28 U.S.C. § 1331 and 1343.

        3.        Supplemental jurisdiction pursuant to 28 U.S.C. § 1367 is invoked for Ms. Vogt’s

state law claims, as these claims form part of the same case and controversy as Ms. Vogt’s

federal claims.




                                                   2
         CASE 0:22-cv-00777-NEB-TNL Doc. 15 Filed 06/21/22 Page 3 of 11




       4.         Venue is this Court is appropriate pursuant to 28 U.S.C. § 1391, as the unlawful

practices and acts described herein occurred within this State and District.

       5.         Ms. Vogt filed a charge of discrimination with the EEOC on August 21, 2020. On

September 27, 2021, the EEOC issued a finding of probable cause that Defendant discriminated

against her in violation of the ADA. On April 1, 2022, the EEOC commenced this lawsuit.

                                               PARTIES

       6.         Kaylah Vogt is an individual person who, at times relevant to this Complaint, was

a “qualified individual” under the ADA. Ms. Vogt is currently a resident and domiciliary of the

State of Minnesota.

       7.         At all times relevant to this Complaint, Defendant North Memorial Health is and

has been a Minnesota corporation doing business in the State of Minnesota. At all times relevant

herein, Defendant has continuously had at least fifteen (15) employees and has been a covered

“employer” as that term is defined under the ADA and MHRA.

       8.         At all times relevant to this Complaint, all individual managers, supervisors, and

human resource personnel referred to herein acted with actual authority from Defendant North

Memorial Health and as agents of the same.

                                    FACTUAL BACKGROUND

       9.         Defendant North Memorial Health is a health care provider that operates several

hospitals and clinics in the greater Twin Cities area.

       10.        In July 2020, a job vacancy arose at Defendant for the position of greeter.

       11.        The job description for the greeter position included greeting visitors, applying

COVID-19 masking standards and policies, giving directions, and keeping the welcome area

clean and tidy.




                                                   3
        CASE 0:22-cv-00777-NEB-TNL Doc. 15 Filed 06/21/22 Page 4 of 11




       12.      Defendant provided greeters with a script from which they would read which

included questions that the greeters would ask visitors/patients regarding COVID-19 symptoms.

       13.      Greeters also had access to a corresponding poster board with images showing

COVID-19 symptoms which they could point to in order to ask if individuals had experienced

any of the symptoms.

       14.      Defendant had authority and control over the greeter’s work. For instance,

Defendant:

             a. Determined the greeter’s schedule;

             b. Directed and assigned the greeter’s work and day-to-day duties;

             c. Provided the workplace and materials to perform the greeter job;

             d. Assigned where the greeter performed the job;

             e. Supervised how the greeter performed the job; and

             f. Controlled the decision to hire, fire, and discipline the greeter.

       15.      Ms. Vogt is a qualified individual with a disability under the ADA and MHRA.

       16.      Ms. Vogt is deaf and is substantially limited in the major life activity of hearing.

See 42 U.S.C. § 12102(2)(a).

       17.      Ms. Vogt was qualified for the greeter position and could perform the essential

functions of the job with or without an accommodation.

       18.      Ms. Vogt wears hearing aids. With the hearing aids, Ms. Vogt can hear people

speaking without any difficulty. Ms. Vogt can communicate both verbally and through the use of

American Sign Language (ASL).

       19.      On or about July 21, 2020, Ms. Vogt applied for the greeter position at Defendant.




                                                   4
         CASE 0:22-cv-00777-NEB-TNL Doc. 15 Filed 06/21/22 Page 5 of 11




        20.    Ms. Vogt was interviewed by a recruiter from a recruiting firm that had advertised

the greeter position for Defendant.

        21.    Ms. Vogt’s interview was conducted via a video relay service with an ASL

interpreter.

        22.    Based on her interview, Ms. Vogt was informed that Defendant was interested in

hiring Ms. Vogt.

        23.    The interviewer had authority from Defendant to hire Ms. Vogt.

        24.    After offering employment to Ms. Vogt, Defendant’s interviewer began talking

with Ms. Vogt about the employment onboarding process with Defendant.

        25.    During this conversation, the recruiter asked Ms. Vogt whether she was

experiencing a lag during the call.

        26.    Ms. Vogt informed the recruiting manager that she was deaf and/or hearing

impaired and therefore was using a video relay service with an ASL interpreter.

        27.    Notwithstanding the use of an interpreter, Ms. Vogt assured the interviewer that

she was capable of performing the greeter job functions with or without an accommodation and

provided examples of viable accommodations.

        28.    The recruiting manager informed Ms. Vogt that she would need to discuss this

with Defendant’s hiring manager.

        29.    On July 21, 2020, the recruiting manager contacted Defendant’s manager who

supervised the greeter position and informed him about Ms. Vogt’s application and her

disability.

        30.    The recruiting manager inquired with Defendant’s manager whether Ms. Vogt

could be hired and/or accommodated.




                                                5
         CASE 0:22-cv-00777-NEB-TNL Doc. 15 Filed 06/21/22 Page 6 of 11




       31.     A few days later, Defendant’s manager replied to the recruiting manager that

Defendant did not want to hire Ms. Vogt because of her disability.

       32.     The recruiting manager contacted Ms. Vogt and informed her that she would not

be hired as a greeter for Defendant.

       33.     Defendant’s decision not to hire Ms. Vogt because of her disability deprived Ms.

Vogt of equal employment opportunities and otherwise adversely affected her status as an

employee because of her disability.

       34.     Defendant’s decision not to hire Ms. Vogt because of her disability was

intentional and undertaken with malice and/or reckless indifference to the federally protected

rights of Ms. Vogt.

       35.     Defendant’s actions have caused Ms. Vogt substantial emotional distress.

                                       CAUSES OF ACTION

                                            COUNT I

             VIOLATION OF THE AMERICANS WITH DISABILITIES ACT
                  42 U.S.C. § 12101, et seq. (Disability Discrimination)

       36.     Plaintiff incorporates the foregoing paragraphs of her Complaint by reference.

       37.     The Americans with Disabilities Act (“ADA”) provides that it is an unlawful

employment practice to “discriminate against a qualified individual on the basis of disability in

regard to the job application procedures, the hiring, advancement, or discharge of employees,

employee compensation, job training, and other terms, conditions, and privileges of employment.

42 U.S.C. § 12112(a).

       38.     The ADA defines a “disability” as: (A) a physical or mental impairment that

substantially limits one of more major life activities of such individual, (B) a record of such an

impairment, or (C) being regarded as having such an impairment.” 42 U.S.C. § 12101(1).



                                                 6
         CASE 0:22-cv-00777-NEB-TNL Doc. 15 Filed 06/21/22 Page 7 of 11




       39.     The ADA mandates the definition of disability to “be construed in favor of broad

coverage of individuals under this chapter, to the maximum extent permitted by the terms of this

chapter.” 42 U.S.C. § 12102(4)(A).

       40.     Major life activities under the ADA include: “hearing[.]” 42 U.S.C. 12102(2)(A).

       41.     Plaintiff’s deafness and/or hearing impairment constitutes a disability under the

ADA.

       42.     Defendant was aware of Plaintiff’s disability.

       43.     Defendant’s conduct including refusing to hire Plaintiff because of her disability

violated the ADA.

       44.     As a result of Defendant’s conduct in direct violation of the ADA, Plaintiff has

suffered loss of past and future income, mental anguish, emotional distress, and other damages in

amounts in excess of $75,000.

       45.     Defendant committed the above-described acts with malice and/or in reckless

disregard of Plaintiff’s rights under the ADA. As a result thereof, Plaintiff is entitled to punitive

damages.

                                             COUNT II

             VIOLATION OF THE AMERICANS WITH DISABILITIES ACT
                  42 U.S.C. § 12101, et seq. (Failure to Accommodate)

       46.     Plaintiff incorporates the foregoing paragraphs of her Complaint by reference.

       47.     The ADA provides that discrimination includes the failure to make reasonable

accommodations for an individual’s disability. 42 U.S.C. § 12112(b)(5)(a).

       48.     Defendant was aware of Plaintiff’s disability and was obligated to engage in an

interactive process to determine whether Plaintiff needed accommodations to perform the essential

functions of the greeter position.



                                                  7
         CASE 0:22-cv-00777-NEB-TNL Doc. 15 Filed 06/21/22 Page 8 of 11




       49.     Reasonable accommodations for Plaintiff’s disability existed.

       50.     Defendant violated the ADA by failing to provide accommodations and/or engage

in an interactive process to determine whether Plaintiff was able to perform the essential

functions of the position with or without an accommodation.

       51.     As a result of Defendant’s conduct in direct violation of the ADA, Plaintiff has

suffered loss of past and future income, mental anguish, emotional distress, and other damages in

amounts in excess of $75,000.

       52.     Defendant committed the above-described acts with malice and/or in reckless

disregard of Plaintiff’s rights under the ADA. As a result thereof, Plaintiff is entitled to punitive

damages.

                                            COUNT III

               VIOLATION OF THE MINNESOTA HUMAN RIGHTS ACT
                MINN. STAT. § 363A.01, et seq. (Disability Discrimination)

       53.     Plaintiff incorporates the foregoing paragraphs of her Complaint by reference.

       54.     The Minnesota Human Rights Act provides that “it is an unfair employment

practice for an employer, because of…disability…to: (1) refuse to hire…or (3) discriminate

against a person with respect to hiring, tenure, compensation, terms, upgrading, conditions,

facilities, or privileges of employment. Minn. Stat. § 363A.08 Subd. 2(1) & (3).

       55.     A disability under Minn. Stat. § 363A.03(12) is “any condition or characteristic that

renders a person a disabled person. A disabled person is any person who (1) has a physical, sensory,

or mental impairment which materially limits one or more major life activities; (2) has a record of

such impairment; or (3) is regarded as having such an impairment.”

       56.     Plaintiff had a qualifying disability under the MHRA.




                                                  8
         CASE 0:22-cv-00777-NEB-TNL Doc. 15 Filed 06/21/22 Page 9 of 11




       57.     Plaintiff’s deafness and/or hearing impairment was a physical impairment that

materially limited one or more major life activities.

       58.     Defendant’s conduct herein described including but not limited to refusing to hire

Plaintiff and/or terminating Plaintiff’s employment violated Minn. Stat. § 363A.08.

       59.     As a result of Defendant’s conduct in direct violation of the MHRA, Plaintiff has

suffered loss of past and future income, mental anguish, emotional distress and other damages in

an amount in excess of $75,000.00 but to be determined by a jury at trial.

       60.     Defendant committed the above-alleged facts with malice, reckless disregard or

deliberate disregard for the rights and safety of Plaintiff. As a result thereof, and to the extent

necessary, Plaintiff gives notice of her intent to seek leave to add a claim for punitive damages

under the MHRA.

                                            COUNT IV

               VIOLATION OF THE MINNESOTA HUMAN RIGHTS ACT
                  Minn. Stat. § 363A.01 et seq. (Failure to Accommodate)

       61.     Plaintiff incorporates the foregoing paragraphs of her Complaint by reference.

       62.     Minnesota Statute § 363A.08, subd. 6, makes it an unfair employment practice for

an employer “not to make reasonable accommodation to the known disability of a qualified

disabled person ... unless the employer ... can demonstrate that the accommodation would impose

an undue hardship on the business.”

       63.     Plaintiff’s deafness and/or hearing impairment constituted an impairment that

substantially and materially limited one or more major life activities and has a record of such

impairment.




                                                 9
        CASE 0:22-cv-00777-NEB-TNL Doc. 15 Filed 06/21/22 Page 10 of 11




       64.     Defendant failed to reasonably accommodate Plaintiff’s known disability and failed

to engage Plaintiff in an interactive process to determine whether reasonable accommodations for

Plaintiff were available.

       65.     Defendant’s conduct described herein constituted unfair employment practices in

violation of Minn. Stat. § 363A.08, Subd. 6.

       66.     As a result of Defendant’s conduct in direct violation of the MHRA, Plaintiff has

suffered loss of past and future income, mental anguish, emotional distress and other damages in

an amount in excess of $75,000.00.

       67.     Defendant committed the above-alleged facts with malice, reckless disregard or

deliberate disregard for the rights and safety of Plaintiff. As a result thereof, and to the extent

necessary, Plaintiff gives notice of her intent to seek leave to add a claim for punitive damages

under the MHRA.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff-Intervenor Kaylah Vogt requests that this Court enter a judgment

in favor of Ms. Vogt and against Defendants as follows:

       1.      An order granting Ms. Vogt judgment against Defendant;

       2.      An order granting Ms. Vogt compensatory damages in such amount as the jury may

       determine, but not less than $75,000.00;

       3.      An order granting Ms. Vogt punitive damages;

       4.      An order granting Ms. Vogt treble damages;

       5.      An order granting Ms. Vogt injunctive and declaratory relief against Defendant,

       whereby the Defendant is temporarily and permanently enjoined and restrained from any

       further discrimination of Ms. Vogt;




                                                10
         CASE 0:22-cv-00777-NEB-TNL Doc. 15 Filed 06/21/22 Page 11 of 11




         6.     An order for Defendant to pay Ms. Vogt’s costs, disbursements, interest, and

         attorneys’ fees as allowed under the ADA and MHRA;

         7.     An order for Defendant to pay any and all further relief available, such as any relief

         this Court may consider equitable or appropriate, including but not limited to: all civil

         penalties payable to the State of Minnesota.

PLAINTIFF DEMANDS A JURY TRIAL.

Dated:                                                  TYLER W. BRENNAN LAW, LLC


                                                        Tyler W. Brennan, #397003
                                                        T3 Building
                                                        323 N. Washington Ave. #200
                                                        Minneapolis, MN 55401
                                                        Phone: (612) 351.0084
                                                        Fax: (612) 354.4152
                                                        E-mail: tyler@tylerwbrennanlaw.com




                                                 11
